                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA


DEANDRE BROWN                                        ) JURY TRIAL DEMANDED
         Plaintiff,                                  )
                                                     )
v.                                                   ) Case No. CIV-21-855-F
                                                     )
HEALTHCARE REVENUE RECOVERY                          )
GROUP, LLC., d/b/a                                   )
ARS ACCOUNT RESOLUTION                               )
SERVICES.,                                           )
           Defendant.


                  JOINT STATUS REPORT AND DISCOVERY PLAN



Date of Conference:          Monday, November 1, 2021 at 9:30 a.m. (Central)

Appearing for Plaintiff:     Nkem A House, Sr.

Appearing for Defendant: Kevin T. Crocker

                        Jury Trial Demanded -X- Non-Jury Trial □

     1. BRIEF PRELIMINARY STATEMENT.
          Plaintiff: This is an action for actual and statutory damages by Plaintiff
          Deandre Brown, an individual consumer, against Defendant Healthcare
          Revenue Recovery Group, LLC d/b/a ARS Account Resolution Services for
          violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692. Plaintiff
          contends that Defendant violated 15 U.S.C. § 1692e(8) by not disclosing that
          Plaintiff had disputed the account at issues in the lawsuit.

           Defendant: Contrary to the allegations in Plaintiff’s Complaint, Defendant
           denies that Plaintiff disputed the account at issue in this lawsuit during the
           February 11, 2021 telephone conversation that is alleged in Plaintiff’s
           Complaint. Defendant denies that it violated § 1692e(8) of the FDCPA, and
           Defendant also denies that Plaintiff is entitled to any of the relief or damages
           requested in his Complaint.
2.     JURISDICTION. Plaintiff contends that jurisdiction arises under (a) 15 U.S.C. §
       1692k and (b) 28 U.S.C. § 1331. Defendant admits that Plaintiff purports to bring
       this action under the FDCPA and that this Court could, therefore, have jurisdiction
       under 15 U.S.C. § 1692 and 28 U.S.C. § 1331. Defendant reserves the right, upon
       further discovery conducted in this matter, to raise the issue of whether Plaintiff
       has suffered a particularized, concrete injury-in-fact that is sufficient to confer
       upon him standing to sue such that the Court does not have subject matter
       jurisdiction under Article III of the Constitution of the United States.

3.     STIPULATED FACTS. The parties are unable to stipulate to any at the time.

4.     CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
       SOUGHT.

        a.     Plaintiff: As a result of the actions and inactions of Defendant, Plaintiff
suffered damages and respectfully request that this Court enter judgement in favor of
Plaintiff and against Healthcare Revenue Recovery Group, LLC d/b/a ARS Account
Resolution Services for:

       i. Judgment that Defendant IC Systems Inc. violated the FDCPA;
       ii. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
       iii. Statutory damages pursuant to 15 U.S.C § 1692k(2);
       iv. Costs and reasonable attorney’s fees incurred in this action pursuant to 15
       U.S.C. § 1692k(3);
       v. For such other and further relief as the Court may deem just and proper.


       b.     Defendant: Defendant asserts that it has not violated the FDCPA and
therefore, Plaintiff is not entitled to any of the relief or damages requested. Further,
although Defendant has not made a claim for damages from Plaintiff in this lawsuit,
Defendant has requested that it be awarded its attorney’s fees reasonably related to the
work performed and costs pursuant to 15 U.S.C. § 1692k(a)(3).

5.     APPLICABILITY OF FED. R. CIV. P. 5.1 AND COMPLIANCE.
       Do any of the claims or defenses draw into question the constitutionality of a
       federal or state statute where notice is required under 28 U.S.C. § 2403 or Fed. R.
       Civ. P. 5.1?
                      □ Yes -X- No

6.     MOTIONS PENDING AND/OR ANTICIPATED Defendant anticipates filing a
     Motion for Summary Judgment on Plaintiff’s claims on or before the date set by
     the Court in its Scheduling Order for the filing of dispositive motions.

7.   COMPLIANCE WITH RULE 26(a)(1). Have the initial disclosures required by
     Fed. R. Civ. P. 26(a)(1) been made? -X-Yes -X- No
     If “no,” by what date will they be made?

     On October 25, 2021, Defendant served its Rule 26(a)(1) Initial Disclosures in
     accordance with the Court’s direction contained in its Status/Scheduling
     Conference Docket [ECF No. 10]. Plaintiff has not yet made his initial disclosures
     required by ECF No. 10, but will do so by October 30, 2021.

8.   PLAN FOR DISCOVERY.

     A.    The discovery planning conference (Fed. R. Civ. P. 26(f)) was held on
           October 26, 2021.

     B.    The parties anticipate that discovery should be completed within 9 months.

     C.    In the event ADR is ordered or agreed to, what is the minimum amount of
           time necessary to complete necessary discovery prior to the ADR session?
           7 Months.

     D.    Have the parties discussed issues relating to disclosure or discovery of
           electronically stored information, including the form or forms in which it
           should be produced, pursuant to Fed. R. Civ. P. 26(f)(3)(C)?

           -X- Yes       □ No

           The Parties agree that .PDF format will be the default format for production
           of all documents.

     E.    Have the parties discussed issues relating to claims of privilege or of
           protection as trial-preparation material pursuant to Fed. R. Civ. P.
           26(f)(3)(D)?

           -X- Yes       □ No

           If requested by a party following his/its review of the opposing party’s
           discovery responses/objections, the responding party will provide a
           privilege log in accordance with Fed. R. Civ. P. 26(f)(3)(D).

           To the extent the parties have made any agreements pursuant to Fed. R.
            Civ. P. 26(f)(3)(D) and Fed. R. of Evid. 502(e) regarding a procedure to
            assert claims of privilege/protection after production and are requesting that
            the court include such agreement in an order, please set forth the agreement
            in detail below and submit a proposed order adopting the same.

            Not applicable at this time.

      F.    Identify any other discovery issues which should be addressed at the
            scheduling conference, including any subjects of discovery, limitations on
            discovery, protective orders needed, or other elements (Fed. R. Civ. P.
            26(f)) which should be included in a particularized discovery plan.

            The Parties agree to exchange of Discovery via email. Also, given that this
            lawsuit involves medical debt, personal and confidential information of the
            Plaintiff, and confidential documents of Defendant, the parties will submit a
            Joint Motion for Protective Order and a [Proposed] Agreed Protective
            Order to the Court for its consideration and entry.

9.    ESTIMATED TRIAL TIME:                2 days

10.   BIFURCATION REQUESTED: □ Yes -X- No

11.   POSSIBILITY OF SETTLEMENT:                    □ Good   -X- Fair             □ Poor

12.   SETTLEMENT AND ADR PROCEDURES:

      A.    Compliance with LCvR 16.1(a)(1) - ADR discussion: -X- Yes □ No

      B.    The parties request that this case be referred to the following ADR process:

            □ Court-Ordered Mediation subject to LCvR 16.3
            -X- Judicial Settlement Conference
            □ Other _____________________________________________________
             None - the parties do not request ADR at this time.

13.   Parties consent to trial by Magistrate Judge? □Yes     -X- No

14.   Type of Scheduling Order Requested. -X- Standard - □ Specialized (If a
      specialized scheduling order is requested, counsel should include a statement of
      reasons and proposal.)

      Submitted this 27th Day of October, 2021.
                                           Respectfully Submitted,


                                            s/ Nkem A. House____________________________
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                                           ATTORNEY FOR PLAINTIFF




                                           /s/ Kevin T. Crocker
                                           Kevin T. Crocker, Esq.
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                                           Attorney For Defendant Healthcare
                                           Revenue Recovery Group, LLC d/b/a
                                           ARS Account Resolution Services

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                                           ATTORNEY FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

        This is to certify that on this the 27th day of October, 2021 a true and complete copy of
the above and foregoing document was submitted via the ECF system and delivered to
the following ECF registrants: kcrocker@bn-lawyers.com


                                                  s/ Nkem A. House
                                                  Nkem A. House
